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                             9                                 UNITED STATES DISTRICT COURT
                            10                               NORTHERN DISTRICT OF CALIFORNIA
                            11                                             OAKLAND DIVISION
DAVIS WRIGHT TREMAINE LLP




                            12   AMAZON.COM, INC., a Delaware corporation,
                                 and AMAZON TECHNOLOGIES, INC., a                    Case No. 4:23-cv-05580-DMR
                            13   Nevada corporation,
                                                                                     [PROPOSED] ORDER GRANTING
                            14                               Plaintiffs,             PLAINTIFF AMAZON.COM, INC.’S
                                                                                     MOTION FOR EXPEDITED DISCOVERY
                            15          v.                                           RELATING TO DEFENDANTS’ IDENTITY
                            16   UMER WASIM, et al.,
                                                             Defendants.
                            17

                            18
                                        This matter comes before the Court on Plaintiffs Amazon.com, Inc. and Amazon
                            19
                                 Technologies, Inc.’s (“Amazon”) Motion for Expedited Discovery Relating to Defendants’
                            20
                                 Identity. Having reviewed the complaint and the papers filed in connection with this matter, the
                            21

                            22   Court finds good cause to grant Amazon leave to conduct expedited discovery as follows:

                            23          Amazon is granted leave, prior to the Rule 26(f) conference, to serve Rule 45 subpoenas
                            24   on the following companies solely for the purpose of obtaining account information that may
                            25
                                 help identify Defendants:
                            26

                            27          a)     NameCheap, Inc. (the company that registered several of Defendant Does’

                            28                 domains);


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                                 [PROPOSED] ORDER GRANTING MOTION TO APPROVE EXPEDITED DISCOVERY
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                             1        b)    GoDaddy.com, LLC (the company that registered several of Defendant Does’
                             2              domains);
                             3        c)    Stripe, Inc. (the company that processed a payment to Defendant Doe operating as
                             4              TMAZ Services Digital);
                             5        d)    Google, Inc. (the company controlling the email address used by Defendant Doe
                             6              operating as Atlas Technologies to register the domain amazonproinc.com, and
                             7              administering the accounts linked to Google tags, used on several websites
                             8              operated by Defendant Does);
                             9        e)    Vonage America, LLC (a company administering phone numbers advertised on
                            10              websites operated by Defendant Does);
                            11        f)    Level 3 Communications/Lumen (a company administering phone numbers
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                            12              advertised on websites operated by Defendant Does);
                            13        g)    Onvoy, LLC/Sinch (a company administering phone numbers advertised on
                            14              websites operated by Defendant Does);
                            15        h)    Dialpad, Inc. (a company administering phone numbers advertised on websites
                            16              operated by Defendant Does);
                            17        i)    Telnyx, LLC (a company administering phone numbers advertised on websites
                            18              operated by Defendant Does);
                            19        j)    Bandwidth, Inc. (a company administering phone numbers advertised on websites
                            20              operated by Defendant Does);
                            21        k)    Regus/IWG PLC Group (a company offering virtual addresses advertised on
                            22              websites operated by Defendant Does);
                            23        l)    Annex Brands, Inc. (a company offering virtual addresses advertised on websites
                            24              operated by Defendant Does);
                            25        m)    Sustainable 2 U, Inc. (a company offering virtual addresses advertised on
                            26              websites operated by Defendant Does);
                            27        n)    TT Post Services, Inc. (a company offering virtual addresses advertised on
                            28              websites operated by Defendant Does); and

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                                 [PROPOSED] ORDER GRANTING MOTION TO APPROVE EXPEDITED DISCOVERY
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                             1          o)       Zendesk/Zopim (a company offering a chat service, utilized by websites operated
                             2                   by Defendant Does).
                             3          Amazon is also granted leave, prior to the Rule 26(f) conference, to serve additional Rule
                             4   45 subpoenas on other companies or individuals (e.g., banks, credit card companies, internet
                             5   service providers, etc.) that may be discovered from the information possessed by the companies
                             6   identified in the previous paragraph, and which could reasonably lead to the discovery or
                             7   confirmation of Defendants’ identities.
                             8

                             9          DATED this ______ day of _______________, 2023.
                            10

                            11                                                   DONNA M. RYU
DAVIS WRIGHT TREMAINE LLP




                                                                                 United States District Judge
                            12

                            13
                                 Presented by:
                            14
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                                 [PROPOSED] ORDER GRANTING MOTION TO APPROVE EXPEDITED DISCOVERY
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